  Case 5:20-cv-00011-GW-SHK Document 49 Filed 12/30/20 Page 1 of 1 Page ID #:248


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          EDCV 20-0011-GW-SHKx                                          Date      December 30, 2020
 Title             Edith Gomez, et al. v. Laurie Hernandez




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT


A Joint Notice of Settlement was filed on December 28, 2020. The Court vacates all previously set
dates, and sets an order to show cause re settlement hearing for February 1, 2021 at 8:30 a.m. The
hearing will be vacated provided a stipulation to dismiss is filed by noon on January 28, 2021.




                                                                                                  :
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
